Case: 1:16-Cv-O4990 Document #: 1 Filed: 05/05/16 Page 1 of 9 Page|D #:1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

 

 

, l jj v ) 1-16-cv-04990
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%F/W z /Q g ” § “g'” § Judge charles R. Norg\e, Sr
, ) Magistrate Judge Susan E. COX
)
Plaintiff(s), )
)
t vs. ) Case No.
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/'.` )
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§/¢Wz€ cf T// umw lQ€Few%€v#wC ,D/)_Sw->M.@) MAY 0 5 2016
` Defendant(s). )

THOMAS G. BRUTON
CLERK, U.S. DlSTR|CT COURT

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

T his form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l. This is a claim for violation of plaintifi`s civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983, l985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaintiff’S full name is ;%n,,(/{i" M /CN/??¢ /%/2/7»'/”/¢ \§l/`

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

4_

CaSe: 1: 16- C-\/- 90 Document #: 1 Filed: 5/05/16 F:age 2 of 9 Page|D #:2
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//"??B %ij@./lg{ //Q-:”§{ [/fQ,/;VL /vé&/M
Defendant,,j$' §)7LZ€'7'/L€ 075 JWKMC)F § //’),¢ /93 ‘~////%€1/27‘/ M , is
(name, badge number ifknownj :Z% § UVC? m C_'<

an officer or official employed by /%3%( ()y£ f;/%z,; q /;C»ey 277){// why A/pz//W/ AéJ/V
(department or age cy of government)

:L'Y//mrr$ /Q/HZ;A'l/W@d(f @7£:;;/131//2¢1609 Or

 

l:l an individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

5.

The municipality, township or county under whose authority defendant officer or official

acted is . As to plaintiff’ s federal

constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

On or about g/"A/l% [0 ZQZ § , at approximately / 0 ~`0'0 /l;l£a.m. l___\ p.m.
(m nth,/day, year)

plaintiff was present in the municipality (or unincorporated area) of

, in the County of

 

 

State of lllinois, at

 

(identify location as precisely as possible)

when defendant violated plaintiffs civil rights as follows (Place X in each box that
applies):

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff’ s civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff s civil rights;

Other: 1 v . g » f .
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ada g€ \/0/46 //r;wra vii concuan nw 37@4¢
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;7
/] dix/1760 §§ (’

Case: 1:16-Cv-O499O Document #: 1 Filed: 05/05/16 Page 3 of 9 Page|D #:3

711 707 I/W Z% /?/2/11:/’//` fed 2>542/

/21“17"/ M/% T?L'%f/ 10 W/’”‘Q”VL ”’1£ ,?v>o>a.
7. Defendant o§:erbf rofticial acted pursu:/§tgto a custom or pdi/§§ of defendant w 6 J& `

municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged):

 

 

 

 

8. Plaintiff was charged with one or more crimes, specifically:

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//~71 717 (’ 0/1\1 lay 741 1511/`/ cz€%o/,A¢Wl»€% // v

 

 

 

9. (Place an X in the box that applies, If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

77¢\ are still pending.

l:l were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.l
l:| Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

|] Other:

 

 

1Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

ll.

12.

l3.

Case: 1:16-Cv-O499O Document #: 1 Filed: 05/05/16 Page 4 of 9 Page|D #:4

lO. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

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/
//)o 1111/111 77/71€</177"" 1175 c 177/wet if 711/007 217

2121-dame 21 1342/2071 giese/1117 1/9,,

/

 

 

 

 

 

 

 

 

 

 

Defendant acted knowingly, intentionally, willfully and maliciously.

As a result of defendant’s conduct, plaintiff was injured as follows:
DW 01/<:1»1227 1171 dde/<m¢@_ 7/“£/<1/(’/€.7;1;1/1 w/q/'//i
727 711 720 77/ /11»1§' 572/levied hew Ce'#
75 /_I»e er 1 744 :/:71'/ 461; “/4€.§’71 §'/z 7121/f .~ aea-621 f 431@4§>
/721~/:121§ 121/15/ /1/%»-17 reeb/1119 ('/)21/1»€ 0</\7 071/9`/21/11 121/711 7é 65

Plaintiff asks that the case be tried by a jury. M“Yés [l No 459/71 fw 177 447/\&
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742 7%/41€_..% 517 /' 7 %Q.i

1015 week _

Case: 1:16-cv-O4990 Document #: 1 Filed: 05/05/16 Page 5 of 9 Page|D #:5

14. Plaintiff also claims violation of rights that may be protected by the laws of lllinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. W (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.

Plaintiff’s signature: %% //‘,:1%/ 1

Plaintiff s name (print clearly or type): [/{1,/, /l]§p%* /€) /4’7217117:1» ;/

Plaintiff s mailing address: Q §’ / Sy?" /(? ?;,°4 é<#?_@£ ‘VL”

Ciry f/111 W,,» / 111 state ' Q, ZIP y 0 ' '

Plaintiff`s telephone number:?[)(€`)) 22 1/I/ / L771 g

Plaintiff s email addressw(if you prefer to be contacted by email):

zim/rf ge 141/1711 §‘1 e»’/ 211 / 50 e/L
15. Plaintiff has previously filed a case in this district l:l Yes %No
Ifyes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff An additional signature page may be added.

Case: 1:16-cv-O4990 Document #: 1 Filed: 05/05/16 Page 6 of 9 Page|D #:6

EEOC Form 5 (11/09)

 

CHARGE OF DiSCRiMiNATiON charge deemed r@; Agency(ies) charge worst
This form is affected by the Privacy Act of 1974, See enclosed Privacy Act [:] FEPA
Statement and other information before completing this form.
EEoc 440-2016-02505

lllinois Department Of Human Rights and EEOC

State or local Agency, lf any

 

 

 

 

 

Name (ind)'cate Mr,, Ms., Mrs.) Home Phone (/nc/. Area Code) Date of Birth
Mr. Kenneth R. Mannie, Sr. ` (708) 757-9004 04-25-1953

City, State and ZlP Code

 

 

 

Street Address

951 East 193rd Stree‘t, Glenwood, lL 60425

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Governrnent Agency That l Believe
Discriminaled Against Me or Others. (lf more than two, list under PART/CULARS be/ow.)

 

 

 

 

Name No. En~ployees, Members Phone No. (/nc/ude Area Code)
|LL|NO|S DEPARTMENT OF |NSURANCE 500 or More (217) 782-4515
Street Address City, State and ZlP Code

320 West Washington Street, Springfie|d, lL 62701

 

 

 

 

 

Name No. Employees, Members Phone No. (lnc/ude Area Code)
Street Address City. State and ZlP Code
DiSCRlMiNATiON BASED ON (Check appropriate box(es).) DATE(S) DISCRlMlNATlON TOOK PLACE

Earliest Latest

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l:] RETALiATioN m AGE E DisAaiLlTv |:l GENETic iNFoRMATioN

OTHER (S;Jecify) CONT|NU|NG ACTlON

 

 

 

THE PARTlCULARS ARE (/f additional paper /'s needed, attach extra sheet(s)):

l\/ly agency Was licensed through this agency. | made a complaint to this agency, and subsequently, my
agency's license Was revoked. Respondent refuses to reinstatement my insurance license or investigate my

complaint

l believe that l have been discriminated against because of my race, Black, in violation cf Title Vll of the Civii
Rights Act of 1964, as amended

 

 

l want this charge Hled with both the EEOC and the State or local Agency, if any_ | NOTARY - W/”'€f' necessity for Sfaf€ and LOCa/ AQ€”C)/ R€QU/f@ments
will advise the agencies if l change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures
l swear or ainrm that l have read the above charge and that it is true to

 

 

l declare under penalty of perjury that the above is true and correct the best of my knowiedge, information and belief
SiGNATuRE OF ccmPLAiNANT '

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Daie Charg/'ng Par?“,' Sr`gnarure

 

 

 

 

 

 

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EEOC Form 5 (11/09)

 

 

 

 

 

 

CHARGE OF D|SCR|M|NAT|ON Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [: FEpA
Statement and other information before completing this forrn.
|: EEoc 440-2016-02503
illinois Department Of Human Rights and EEOC
State or local Agency, if any
Name (indicale Mr., Ms., Mrs,) Home Phone (/nc/. Area Code) Date of Birth
Mr. Kenneth R. Mannie, Sr. (708) 757-9004 04-25-1953

 

 

 

Street Address City, State and ZlP Code

951 East 193rd Street, Glenwood, lL 60425

 

Named is the Employer, Labor Organization, Emp|oyment Agency, Apprenticeship Committee, or State or Local Govemment Agency That l Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICULARS below.) .

 

 

 

 

Name No. Employees. Members Phone No. (/nc/ude Area Code)
HEALTHCARE SOLUTlONS 500 or More (630) 925-4079
Street Address City, State and Z|P Code

1900 South Highland Avenue, Lombard, lL 60148

 

 

 

 

 

Name No. Employees, Members Phone No. (/nc/ua'e Area Code)

Street Address City, State and ZlP Code

DlSCRli‘viiNATlON BA$ED GN (Check appropriate box(es).) DATE(S) DlSCR!MlNATlON TOOK PLACE
Earliest Latest

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[: OTHER(SpeCli')/) CGNTlNUiNG ACT|ON

 

 

THE PART|CULARS ARE (lf additional paper is needed attach extra sheet(s)).'

My agency had a contract with Respondent and our independent agents worked with Respondent.
Respondent took money out of our bank account without authorization and then conspired to have our

license revoked. | complained to no avail.

l believe that l have been discriminated against because of my race, Black, in violation of Tit|e Vll of the Civil
Rights Act of 1964, as amended

 

 

l want this charge filed with both the EEOC and the State or local Agency, if any, l NOTARY ~ Wh@fl '”EC€SSBW »"Of 31‘3?9 ard l -O¢` Hl'- §€H€; P°fl' 1’/=""€/“'!$
will advise the agencies if l change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their

 

rocedures,
lJ l swear or affirm that l have read the a’oo\.' e charge and that it is true to

 

 

  

l declare under penalty oi perjury that the above is true and correct the best of my knowiedge, information anc` be tef.
SiGNAT' 'RE OF CGMPL.AiNANT

/,
- /" . // ,, SUBSCF?EBED .»*~iND SWCRN ’i`O BEFC’P».E ME T§‘"%S ‘.".`.A 75
F€b 09, 2015 %'/’ di /’)’7‘}’.’/~./---/' ifr':cnth c`a_v ;,ear,\

Date Chargin.g Part“y' Signature

 

 

 

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eeoc norm 5(11/09) t

 

 

 

 

 

 

 

 

 

CHARGE OF D|SCR|M|NAT|ON Charge Presented To: Agency(ies) Charge No(s):
This form |s affected by the Privacy Act of 1974. See enclosed Privacy Act ‘: FEPA
Statement and other information before completing this fomi.
|: eeoc 440-2016-02504
illinois Department Of Human Rights and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (lncl. Area Code) Date of Blrth
Mr. Kenneth R. Mannie, Sr. (708) 757-9004 04-25-1953
Street Address City, State and Z|P Code

951 East 193rd Street, Glenwood, lL 60425

 

Nam ed is the Emp|oyer, Labor Organization, Emp|oyment Agency, Apprenticeship Committee, or State or Local Government Agency That l Believe
Discriminated Against lVle or Others. (lf more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Emp|oyees. Members Phone No. (Include Area Code)
T|MES |NSURANCE/ASSURANT HEALTH 500 or More (414) 271-3011
Street Address City, State and ZlP Code

501 West Michigan Avenue, Mi|waukee, Wl 53203

 

 

 

 

 

Name No. Employees, Members Phone No. (lnclude Area Code)

Street Address City, State and ZlP Code

D|SCR|M|NAT!ON BASED ON (Check appropriate box(es),) DATE(S) D|SCRlMiNATlON TOOK PLACE
Earliest Latest

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THE PART|CULARS ARE (/fadditional paper is needed, attach extra sheet(s)).‘

l\/iy agency had a contract with Respondent and our independent agents worked With Respondent.
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Rights Act of 1964, as amended

 

 

 

 

 

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i~ » 3 v 1 t
l want this charge filed with both the EEOC and the State or local Agency, if any. l NOTARY ~ Wh€n necessary for State and LOCS/ Agency R€QU/f€fn€nt$
will advise the agencies if l change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their
D\’OC€C‘U\'ES~ l swear or afhnri that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is ime and correct the best of my knowledge information and belief. ,.,

S|GNATURE OF COMPLA|NANT

///L Mr,v__~ suascaieeo Ario swoan To aei=one uet}lis oAre §
F€b 09, 201 5 ”' (mo"ml dal/l Y‘-`a') L\' t . j

gate Charging Part/ Slgnalure 0 il _ "

 

 

 

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i,.M Case: 1:16-cv-O499O Document #: 1 Filed: 05/05/16 Page 9 of 9 Page|D #:9

Department of Workforce Deve|opment
Equa| Rights Division

819 N. 6"‘ street Rm. 723

Mi|waukee, Wl 53203-1697

Telephone: (414) 227-4384

Fax: (414) 227-4084

‘|TY: (414) 227-4081

NOTICE OF COMPLAINT - EEOC TO PROCESS INITIALLY
April 22, 2016

TIME INSURANCE CO/
ASSURANT HEALTH
501 W MICHIGAN S'l`
MILWAUKEE W153203
Respondent

Re: ERD Case NO. CR20160094O
EEOC Case No. 440201602504€

To Whom It May Concern:

STATE OF W|SCONS|N
@C® DW D
Department of Workforce Development

Scott Wa|ker, Governor
Raymond Allen, Secretary

The enclosed charge of discrimination Which Was originally filed With the Federal Equal Employment
Opportunity Commission [EEOC), has also been filed with the State of Wisconsin Equal Rights Division [ERD).
The ERD and the EEOC have a Work sharing agreement which covers the processing of complaints of
discrimination that are prohibited under both federal law and the Wisconsin Fair Employment Act. The work
sharing agreement provides that the agency Which originally receives the complaint Will process it first
Therefore, the ERD Will take no action pending the EEOC's processing of this complaint

lf you have any further questions regarding this case, please contact the EEOC at 414-297-1112. Remember to

have your EEOC case number ready for reference

cc: Complainant
EEOC

Enclosure

ERD-7087-MAD-E (R. 01/16]

